                                 Case 24-12726-MFW                   Doc 1     Filed 12/04/24           Page 1 of 7

     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

                                       Delaware
     ____________________ District of _________________
     (State)
                                                               11
     Case number (If known): _________________________ Chapter _____

                                                                                                                                    Check if this is an
                                                                                                                                       amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                       12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:        Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                        Chapter 7
                                       
                                       ✔ Chapter 11


Part 2:        Identify the Debtor


2.    Debtor’s name                    Mawson Infrastructure Group, Inc.
                                       ______________________________________________________________________________________________________



3.    Other names you know             __________________________________________________
      the debtor has used in
      the last 8 years                 __________________________________________________

                                       __________________________________________________
      Include any assumed
      names, trade names, or
      doing business as names.

4.    Debtor’s federal
      Employer Identification           Unknown
      Number (EIN)
                                        8 ___
                                       ___ 8 – ___
                                                 0 ___
                                                    4 ___
                                                       4 ___
                                                          5 ___
                                                             1 6___ 7
                                                                    ___
                                       EIN

                                       Principal place of business                                Mailing address, if different
5.    Debtor’s address

                                       950         Railroad Avenue
                                       ________________________________________________           _________________________________________________
                                       Number     Street                                          Number     Street


                                                                                                  _________________________________________________
                                       _________________________________________________
                                                                                                  P.O. Box

                                       Midland
                                       ______________________________    PA 15059
                                                                        _______ _________         _____________________________ _______ _________
                                       City                             State   ZIP Code          City                          State   ZIP Code



                                                                                                  Location of principal assets, if different from
                                                                                                  principal place of business

                                       United States of America
                                       _________________________________________________          _________________________________________________
                                       County                                                     Number     Street

                                                                                                  _________________________________________________

                                                                                                  _____________________________ _______ _________
                                                                                                  City                          State   ZIP Code


Official Form 205                                     Involuntary Petition Against a Non-Individual                                    page 1
                                Case 24-12726-MFW                 Doc 1         Filed 12/04/24             Page 2 of 7

Debtor        Mawson Infrastructure Group, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




6.   Debtor’s website (URL)        https://www.mawsoninc.com/
                                   _____________________________________________________________________________________________________




7.   Type of debtor                
                                   ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                    Partnership (excluding LLP)
                                    Other type of debtor. Specify: __________________________________________________________________________

8.   Type of debtor’s
                                   Check one:
     business
                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                    Railroad (as defined in 11 U.S.C. § 101(44))
                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                   
                                   ✔ None of the types of business listed.
                                    Unknown type of business.

9.   To the best of your            No
     knowledge, are any
     bankruptcy cases              
                                   ✔ Yes. Debtor _________________________________________________ Relationship __________________________
     pending by or against
                                            District __________________________ Date filed _______________ Case number, if known____________________
     any partner or affiliate
                                                                                           MM / DD / YYYY
     of this debtor?

                                            Debtor _________________________________________________             Relationship __________________________

                                            District __________________________ Date filed _______________ Case number, if known____________________
                                                                                           MM / DD / YYYY
                                             Petitioners reference the Winding Up Application filed with the Federal Court of Australia on
                                             October 3, 2024 (Case No. NSD 1395 of 2024) relating to debts owed by Debtor’s subsidiary,
                                             Mawson Infrastructure Group Pty Ltd., for which Debtor provided guarantees.
Part 3:       Report About the Case

10. Venue                          Check one:

                                   
                                   ✔ Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                      business, or principal assets in this district longer than in any other district.

                                    A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11. Allegations                    Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                   The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                   At least one box must be checked:

                                   
                                   ✔ The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                      fide dispute as to liability or amount.

                                   
                                   ✔ Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                     agent appointed or authorized to take charge of less than substantially all of the property of the
                                     debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12. Has there been a                No
     transfer of any claim
     against the debtor by or      
                                   ✔ Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
     to any petitioner?               Rule 1003(a).


Official Form 205                                    Involuntary Petition Against a Non-Individual                                        page 2
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                                                                                                  /s/ Robert J. Dehney, Sr.
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                                   Case 24-12726-MFW                              Doc 1    Filed 12/04/24            Page 4 of 7

Debtor         _______________________________________________________                                    Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   Marshall Investments MIG Pty Ltd                                                         Robert J. Dehney, Sr.
                                                                                            ________________________________________________________________
   ______________________________________________________________
   Name                                                                                     Printed name

                                                                                             Morris, Nichols, Arsht & Tunnell LLP
                                                                                            ________________________________________________________________
   Suite 1 , Level 12, 53 Martin Place
   ______________________________________________________________                           Firm name, if any
   Number Street

   Sydney                             Australia      NSW 2000                               1201 North Market Street, 16th Flr.
                                                                                            ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                                Number Street

                                                                                            Wilmington
                                                                                            _________________________________  DE
                                                                                                                              ______________  19899-1347
                                                                                                                                             _____________
                                                                                            City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                            Contact phone    302.351.9353
                                                                                                             _________________       RDehney@morrisnichols.com
                                                                                                                               Email ___________________________
   ______________________________________________________________
   Name
                                                                                            Bar number      3578
                                                                                                            ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                            State           DE
                                                                                                            _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                1RYHPEHU
   Executed on _________________
               MM
                M / DD / YYYY
                                                                                          8 /s/ Robert J. Dehney, Sr.
                                                                                            ________________________________________________________________
                                                                                            Signature of attorney


8     ____
       ______________
        __
                            'LUHFWRU
    ______________________________________________________________                          Date signed      12/04/2024
                                                                                                             _________________
   Signature
        t    off petitioner
                   titi     or representative, including representative’s title                              MM / DD / YYYY




   Name and mailing address of petitioner

   Rayra Pty Ltd                                                                            Robert J. Dehney, Sr.
                                                                                            ________________________________________________________________
   ______________________________________________________________
   Name                                                                                     Printed name

                                                                                             Morris, Nichols, Arsht & Tunnell LLP
                                                                                            ________________________________________________________________
   Unit 58A, 1183-1187 The Horsley Drive
   ______________________________________________________________                           Firm name, if any
   Number Street

   Wetherill Park                     Australia      NSW 2164                               1201 North Market Street, 16th Flr.
                                                                                            ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                                Number Street

                                                                                            Wilmington
                                                                                            _________________________________  DE
                                                                                                                              ______________  19899-1347
                                                                                                                                             _____________
                                                                                            City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                            Contact phone    302.351.9353
                                                                                                             _________________       RDehney@morrisnichols.com
                                                                                                                               Email ___________________________
   ______________________________________________________________
   Name
                                                                                            Bar number      3578
                                                                                                            ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                            State           DE
                                                                                                            _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                1RYHPEHU
   Executed on _________________
               MM / DD / YYYY
               M
                                                                                          8 /s/ Robert J. Dehney, Sr.
                                                                                            ________________________________________________________________
                                                                                            Signature of attorney


8      _
       __
        _ _______        'LUHFWRU
    ______________________________________________________________
       ___                                                                                  Date signed       12/04/2024
                                                                                                             _________________
   Signature of petitioner or representative, including representative’s title                               MM / DD / YYYY




Official Form 205                                               Involuntary Petition Against a Non-Individual                                        page 4
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                             Chapter 11

    Mawson Infrastructure Group, Inc.                                 Case No. 24-[] ([])

                    Alleged Debtor


                                                       Rider 1

Petitioners declare under penalty of perjury that the foregoing is true and correct according to the
best of their knowledge, information and belief.

            Name of Petitioner            Nature of Petitioner’s Claim Amount of the Claim Above
                                                                       the Value of Any Lien

    W Capital Advisors Pty Ltd as Secured Loan Deed                              A$1,661,552.58 plus interest
    trustee for the W Capital                                                    accruing under the Secured
    Advisors Fund 1                                                              Loan Deed and the interest
                                                                                 accruing under the certain
                                                                                 convertible promissory note,
                                                                                 dated 8 July 2022 and legal and
                                                                                 professional services costs.


    Marshall Investments MIG Pty Secured      Loan                   Facility A$12,073,339 plus interest
    Ltd as trustee for the Marshall Agreement                                 and default management fees
    Investments MIG Trust 2                                                   accruing under the Secured
                                                                              Loan Facility Agreement and
                                                                              legal professional services
                                                                              costs.


    Rayra Pty Ltd as trustee for Secured   Loan                      Facility A$50,000      plus   interest
    The Mountainview Trust       Agreement                                    accruing under the Secured
                                                                              Loan Facility Agreement



1
       Mawson Infrastructure Group, Inc. (the “Debtor”) and W Capital Advisors Pty Ltd executed that certain Corporate
       Guarantee, dated as of September 29, 2022, whereby the Debtor guarantees the obligations of its affiliate Mawson
       Infrastructure Pty Ltd under that certain Secured Loan Deed, by and between W Capital Advisors Pty Ltd and the
       Mawson Infrastructure Pty Ltd, dated as of September 2, 2022 (as amended time to time, the Secured Loan Deed”).
2
       The Debtor and Marshall Investments MIG Pty Ltd executed that certain Continuing Guaranty, dated as of
       December 9, 2021, whereby the Debtor guarantees the obligations of its affiliate MIG No. 1 Pty Ltd under that
       certain Secured Loan Facility Agreement, by and between Marshall Investments MIG Pty Ltd and affiliate MIG
       No. 1 Pty Ltd, dated as of December 9, 2021 (the “Secured Loan Facility Agreement”).
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re                                                     Chapter 11

 Mawson Infrastructure Group, Inc.                         Case No. 24-[] ([])

                 Alleged Debtor

                       DECLARATION OF RAY ITAOUI ON BEHALF
                          OF RAYRA PTY LTD PURSUANT TO
                          FEDERAL RULE OF BANKRUPTCY
                                PROCEDURE 1003(a)
         I, Ray Itaoui, pursuant to 28 U.S.C. § 1746, hereby declare that the following is true and

correct to the best of my knowledge, information and belief:

         1.     I make this declaration on behalf of Rayra Pty Ltd, as trustee for The Mountainview

Trust (the “Petitioning Creditor”) in the above-captioned involuntary chapter 11 case (the

“Bankruptcy Case”) filed by Petitioning Creditor and other petitioning creditors against Mawson

Infrastructure Group, Inc. (the “Debtor”). I am fully familiar with the facts set forth herein either

through my own personal knowledge or through a review of documents related to the Petitioning

Creditor’s claims against the Debtor.

         2.     I am a Director and Company Secretary of Rayra Pty Ltd, the trustee for Petitioning

Creditor .

         3.     The Petitioning Creditor holds claims against the Debtor in the aggregate principal

amount of at least A$50,000 plus accruing interest based upon its holdings under that certain Secured

Loan Facility Agreement by and between Marshall Investments MIG Pty Ltd (the “Assignor”), as

trustee for the Marshall Investments MIG Trust, and MIG No. 1 Pty Ltd, dated as of December 9,

2021 (the “Loan Agreement”). The Petitioning Creditor and the Debtor entered into a Continuing

Guaranty, causing the Debtor to act as a guarantor for the prompt repayment by MIG No. 1 Pty Ltd

of the commitments under the Loan Agreement.
                 Case 24-12726-MFW           Doc 1   Filed 12/04/24    Page 7 of 7



       4.      The Petitioning Creditor’s holdings under the Loan Agreement that are being relied

upon for the purpose of satisfying the requirement of 11 U.S.C. § 303(b)(1) were acquired on

October 18, 2024, as reflected in that certain Assignment Agreement annexed hereto as Exhibit A.

       5.      The Petitioning Creditor did not purchase the claims for the purpose of commencing

this case under the Bankruptcy Code.

       6.      I declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.



  Dated: November 19th, 2024
  New York, New York




                                       By:
                                             Ray Itaoui
                                             Director and Company Secretary




                                                 2
